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                           JUL O8 2024
                                                     UNITED STATES COURT OF APPEALS
                    KELLY L. STEPHENS, Clerk           FOR THE SIXTH CIRCUIT

                      Elizabeth Nelson et al.,

                                      Appellant
                                                                                            Case No. 24-1219

                      Vs

                      Service Towing Inc., et al.,
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                                       Defendants


                                                        BRIEF OF APPELLANTS
Filed: 07/08/2024




                      FOR THE APPELLANTS
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                                                                                       FOR THE APPELLEES
                                                                                                Rachel Selina
                                                                                             Mark Straetmans
Case: 24-1219




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                                                     ST/\TEMENT OF THE FACTS
                     Appellants' are renters 4 unit apartment 7568 Hudson Ave Warren MI 48091, Macomb County
                    Mi. 5/1/20 appellees' city of Warren MI Property & Maintenance Supervisor Scott, Kijewski
                    contacted appellees Service Towing Inc., Able Towing LLC, Hertz Brothers, Sandra Hertz to tow
                    4 cars from 7568 Hudson Ave Warren MI when city ofWarren, State of Michigan was on
                    Emergency Covid orders. No blight ticket or ticket of any kind was written in reference to the
                    cars or property as appellees later alleged with no proof of same.. State of Michigan, city of
                    Warren had "stayed" all evictions because of covid as there was a renter still in the property that
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                    had been evicted.. The cars were initially towed under Michigan Abandoned Vehicle statute and
                    to support this the address the cars were towed from was falsified to make it appear as if 4
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                    vehicles were abandoned under MI law, when if the correct had been entered the towed cars
                    would not meet the definition of MI Abandoned Vehicle. Later, appellees appeared to drop this
                    defense and alleged that a "blight" ticket was written on the property at issue but never produced
                    a "blight" ticket, and a ticket for "occupying an uncertified structure" when all eviction were
                    stayed 3/10/20 because of covid. The remaining tenants=BRANSON sisters had their put out
                    stayed 3/10/20 per the record.
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                      Appellants have a claim that the facts accepted as true created a "state created danger" "SCD"
                    for appellants because of the covid emergency in retrieving appellant Nelson=AN 4 cars when
                    5/3/20 after being notified by friend that cars were gone, appellees proceeded from OH -then a
                    low covid state-per on the record exhibits to MI-then a high covid state per on the record exhibits
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                    to retrieve cars. AN=appellant Nelson, could not retrieve 4 vehicles without the help of
                    AT=appellant Thrower, per the record.

                      ON or about 7//, appellants went to Van Dyke substation to make a police report as to the
                    "falsified address". Appellants were refused the opportunity to make the police report by
                    appellants believe was Doe Police Officer Reichling. This is claim of action.

                      Appellants sought to amend their pleadings with the last request to amend pleading before
                    magistrate ordered deadline ECF 74 identifying Does and same was never ruled on-assigned as
                    error and timely objected to in the magistrate's report along with other proffered amended
                    complaints.
                                                           STATEMENT OF THE LAW



                        The law is well settled that government officials must have a search warrant to enter private
                    property. 4, 5, 14th Amendments: in violation of"black letter law", Collins v. Virginia, 138 S.
                    Ct. U,631 20,li IL.. Ede 2d, 9 1 ~20!1'8), recently address ''c:urtilage" andi the necessity of the search
                    warrant which the court held was "well settled 'black letter' law. lncleecl, in NILi et al., v City of
                    Warren, et, at in/ha; @ para li2, the city signed' a, "consent decree" that an "administrative
                    warrant" would be obtained to enter private property.
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                        Per tl\e 5/1:/20,towing, appellees Se11vice Tm,,ing Ille,, Able Towing LILC=STI; Hc11t0 Bros.,
                    Sandra & Edward Hertz-deceased and employee Randy Sullivan-earlier !D's as Randy Hertz
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                    folsilledi the address, that caus were to,vedi fi·om, to, allegedi tliat cars were towed! i11 conformance
                    with Michigan Abandoned V chicle statute. Later this defense appeared to be abandoned and the
                    appellees.relied: on, a, non,existent "blight titoket" asa, reason, to,ente1110. enterap1,ellants. leasedi
                    property which was there home(s) curtilage, behind a "privacy fence" 7568 Hudson Ave Warren
                    MJ, aA' unit building.
                        Discovery proceeded with ADMISSIONS that ems were towed without Warren police
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                    iiivo!Vemcnt wl\icl\. negated a, pant, of Michigan, Abandbnedi Vehicle statute that "police'' could'
                    cause a car to be towed.
                        The 5/li/20!towing, was dbnc dtwing covid: locRdbvm & (kl}personali property was.rem0ved
                    from "curtilage" of the 5/1/20 towing. Tenants Branson had their eviction "put out" "stayed
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                    3/1()/2(), because of covidi. Ap1,ellees.rel.y on, a, li/241/20;ticket, for"occn11yil1g am uncentified
                    structure" as a reason to tow cars when appellant Nelson 2/28/20 tried to pay $350 to set up an
                    inspectiorn date whidl, would: lia,,e negated the· "unce11tilled1 structure" ticket but city hall' was.
                    locked because of the covid.
                        Several, hearibgs. w.e1:e he]di by the magistl'ate in, the trial! com;t, with. appellants filihg timely
                    OBJECTIONS TO THE MAGISTRATE'S REPORT, and a timely appeal to the district judge
                    who, denied appellants' position, withont stating "findings,ol'fact, or concll1sions.of !av/' and a
                    timely appeal followed.
                                             ASSIGNMENT OF ERROR NUMBER ONE
                    TRIAL COURT ERRED TO THE PREJUDICE OF APPELLANTS' WHEN IT OPINED THAT
                    APPELLANTS'DIDNOTSTATEACLAIMUNDER THE4rn, 5th , 14rnAMENDMENT
                    WHEN APPELLEES' CITY OF WARREN OFFICIALS WITH SERVICE TOWING INC.,
                    HERTZ BROS., EDWARD AND SANDRA HERTZ, OWNERS AND EMPLOYESS
                    ENTERED ON TO APPELLANTS' LEASED PRIVATE PROPERTY AND TOWED 4
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                    VEHICLES AND TOOK PERSONAL PROPERTY FROM THEIR RESIDENCES WITHOUT
                    A SEARCH WARRANT, WITHOUT PROBABLE CUASE, WITHOUT BLIGHT TICKET IN
                    VIOLATION OF Collins v. Virginia, L38 S. Ct. 1663, 201 L. Eclr. 2d 9 (20il8) WITHOUT DUE
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                    PROCESS OF LAW
                      Per the law everything in the appellants' ECF 6 COMPLAINT must be accepted as true same
                    as if rewritten herein: Anderson v Liberty Lobby, 477 US 242,248,
                    "1) On .. 5.1.20 .. appellees' entered property at 7568 Hudson Ave Warren MI 48091 and adjacent
                    lot owned by same entity combined into one lot (per public records) and towed 4 vehicles ...
                    when courts were closed and covid was raging. No court order was entered to enter property ...
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                    6) Cars towed by APPELLEES' (D) Service Towing Inc, (D) Able Towing LLC, (hereinafter
                    STI) (D) Edward Hertz (deceased), (D) Dennis Hertz, (D) Bruce Hertz, (ID-Doe, or mistakenly
                    ID as Randy Hertz=Randy Sullivan), Sandra Hertz hereinafter appellees' Hertz Brothers & (D)
                    Sullivan .. being called by (D) .... Robert Scott, (deceased)-City of Warren Property &
                    Maintenance Supervisor (substitute Doug Campbell) ... called by (D) Scott according to
                    employees of appellee STI.
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                    7) All the cars were owned by appellant Elizabeth Nelson who had lawful authority to park
                    vehicles at ... 7568 Hudson Ave Warren .. (behind a privacy-record infra) .. Ex A picture ...
                    (annexed to ECF 6)
                    9) Michigan law does not allow city of Warren Property & Maintenance Division employees ...
                    ID'd appellee (D) Robert Scott (deceased-substituted, estate, new supervisor Doug Campbell) ..
                    Does (ID'd Gauss, Cummins, ... to enter private property .. tow vehicles or to call, conspire with
                    (D) STI Towing ... (D) Hertz Bros., employee (D) Sullivan .. to tow vehicles off private property
                    without court order or take personal property (belonging to appellant Thrower-per complaint)

                    10) There was no "probable cause" as defined by the 4th Amendment of the United States
                    Constitution ... and no search Warrant was issued. The Fourth Amendment of the United States
                    Constitution is applicable to the states via the 14th Amendment, and there was no court order
                    issued to tow 4 cars and take personal property . . . 4th Amendment to the United States
                    Constitution states:
                        "The right of the people to be secure in their persons, houses, papers, and effects, against
                                                   unreasonable searches and seizures,
                     shall not be violated, and no wa1Tant shall issue, but upon probable cause, supported by oath or
                                                       affimiation, and particularly
                     describing the place to be searched, and the persons or things ... " Collins v, Virginia, 138 S. Ct.
                                                                    1663,

                    stated again@ ECF 105 OBJECTION MAGISTRATE'S REPORT pg I para 1, pg. 2 para 1,
                    and appellants' are pro'se and should be held to "more liberal standard", Haines v Kerner, 404
                    U.S. 519
Page: 5




                    Per Collins v. /lirginia. 138 S. Ct.. 1663, 20;1, reafffin:ned that tbe4th Amendment included
                    "cnrtilagc has long been black letter law". "Fourth Amendment's protection of curtilage has long
                    been: black letter 1'aw. "jW}ben, it comes to, the Fow:th Amenclmemt, the home is. first among
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                    equals." Florida v. Jardines, 569 U.S. 1, 6, "At the Amendment's 'very core' stands 'the right of
                    a man to retreat into his own home and there be free from unreasonable governmental intrusion.'
                    "Ibid. (quoting Silverman v. United States, 365 U.S. 505, 511, To give full practical effect to
                    that right, the Court considers curtilage~"the area 'immediately su1Tounding and associated with
                    the home' "~to be" 'part of the home itself for 4th Amendment purposes.'" Jardines, 569 U.S.,
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                    at 6, 133 S.Ct. 1409 (quoting Oliver v. United States, 466 U.S. 170, 180, "The protection
                    afforded the curtilage is essentially a protection offamilies and personal privacy in an area
                    intimately linked to the home, both physically and psychologically, where privacy expectations
                    are most heightened." California v. Ciraolo, 476 U.S. 207, 212-213, When a law enforcement
                    officer physically intrudes on the curtilage to gather evidence, a search within the meaning of 4th
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                    Amendment has occu1Ted. Jardines, 569 U.S., at 11, Such conduct thus is presumptively
                    unreasonable absent a warrant."

                    ECF 6 "11) No warning was given that said vehicles were to be towed to (appellants') .. or take
                    personal property off the 7568 Hudson Ave ... premises ... ".


                    Per ECF 6 "12) (Appellants') aver ... city ofWa1Ten .. (D) SCOTT, ... have a "special
                    relationship' (as admitted in appellee (D) STI filings have the contract to tow cars) and entered
                    into a 'conspiracy' with private entity (D) STI, (D) Hertz Bros., (D) Edward Hertz, Sandra Hertz,
                    (ID'd Doe Randy Sullivan), to 'tow cars off private property' in Warren .. to obtain towing fees,
                    storage fees during the covid pandemic ... and appellants were in 'self isolation' ... being 'at
                    risk' category generating cash for appellee (D) ST! ... et al., rewarding ST!, (D) Hertz Bros., for
                    (D) city of Wanen towing contract.

                    13) Appellee (D) Robert Scott being aware ... covid .. raging used the opportunity to tow
                    $30,000 book value cars to appellee (D) ST! .. (D) Hertz Bros. could incur exorbitant tow fees,
                    and quickly obtain title to ... vehicles and auction off .. for personal gain ...

                    16) Part of the conspiracy (overt act) ... appellee (D) Scott, city of Warren .. Doe employees
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                    (later ID'd but not allowed amended in) .. (D) STl..(D) Hertz Bros. (D) Sandra Hertz, (D)
                    Edward Heitz, Doe Wanen police Dept officers, was to falsify address from where cars are
                    taken to make it appear as if the cars were towed in accordance with Michigan law as abandoned
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                    vehicles when said cars were not towed in accordance with Michigan law and not abandoned due
                    to the falsified paperwork at the direction of or in conceit with (D) Robert Scott Supervisor.. Doe
                    .. Hertz Bros., ST!< AT LLC< Sandra Hertz, Edward Hertz"

                    16) This falsification of address from c01Tect address of 7568 Hudson Ave ... to inconect
                    address 7528 Hudson Ave See Ex B: Michigan Dept of State PETITION FOR HEARING ON
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                    ABANDONED VEHICLE              caused (MI) Dept of State to issue-ECF6 Ex B fraudulent
                    paperwork as to where the vehicles were towed from, See ECF6 Ex C pg 1-4, (D) ST! receipts
                    showing same 'falsified address' .... (D) Scott, ... (D) Does .. being aware MCL 257.252
                    Abandoned Vehicle .. cannot enter private prope11y to tow properly registered vehicles
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                    (appellant) Nelson 7568 Hudson Ave registration ECF6 Ex D: 2009 Silverado, ECF6 Ex E
                    Michigan SOS receipt for tags, plates ...

                    "20) Appellees took appellant Nelson vehicles, appellant Thrower personal property (from the
                    7568 Hudson Ave home) in violation of 4, 5, 14th Amendment of the United States Constitution


                    28) Appellants alleged Petition for hearing on abandoned vehicle ECF6 Ex B is void, void ab
                    initio since caused to be issued via falsified paperwork, falsified address ....


                    29) ... address 'falsified' to 7528 Hudson Ave to submit paperwork to .. Michigan Dept of State
                    (DOS) who then caused .. to issue false ECF6 Ex B: Petition for Hearing on Abandoned Vehicle
                    when said vehicles were not abandoned under Michigan law.
                    30) .. Ex B pg 2 'Michigan Vehicle Code Act 300 of 1949' ... (2) .... Any of the following: (a)
                    A vehicle that has remained on private property without the consent of the owner (b) A vehicle
                    that has remained on public property ....

                    CLAIMS: .. per facts same rewritten herein First Claim: 43) 42 USC Sec 1983-Against all
                    defendants 4, 5, 14th Amendment United States Constitution

                    47) (3 rd Claim) Appellants STI, Hertz Bros., Sandra Hertz, Edward Hertz, ... Doe, Scott, City of
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                    WmTen ... made an umeasonable and warrantless seizure of (appellants') property, seizing 4
                    vehicles, personal property in violation of 4TH amendment Constitution of the United
                    States ... .14 th Amendment ... ", & taking property without Due Process oflaw under the 5th & 14th
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                    Amendment US Constitution.

                       Appellants' aver appellees' "by 'state actors', 'government officials' or private parties
                    acting 'in concert', 'conspiracy' with same appellant Nelson 4 vehicles were at her 'home'.
                    Appellant Thrower (AT) had 'personal property' removed from his MI 'home' by 'state actors'
                    (D) Scott, Does from 7568 Hudson Ave ... (infra Exh's are from ECF 98):Ex I-appellant
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                    Nelson=(AN) lease, Ex 2 (appellant-Thrower)= (AT) lease-7568 Hudson Ave, Ex 3 (AN)
                    Driver's License, Ex 4 (AN=appellant Nelson) Mail, Ex 25-26 (AN) Tax returns, Ex 14 Adjacent
                    lot ownership, Ex 12 Consumer's Energy bill Ex 17 Insurance papers pg 1-4 .. Ex 22 NIL! et al v
                    City of Warren et al consent decree (objection to magistrates report pg 4-5) @ para 12 (D) city of
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                    Warren agree to obtain administrative warrant if denied entry, ... "


                       ECF 105 Obj to Magistrates Report pg 5 para 2 in re appellants' STI, Hertz Brothers, Sandra
                    He1iz, Edward Hertz entering appellants' leased premises "Sixth Cir in Nugent v Spectrum Juv
                    Servs, 72 F4th 135, 139-140 ' .. test .. employed to determine when a private entity may qualify as
                    a state actor, including the entwined test.private entity is entwined in the private entity's
                    mmmgement or control' Brentwood Acad v Tenn Secondary Scholl Athletic Ass 'n, 121 SCt 924.
                    In this case ... facts in complaint that appellant STI, Heiiz Bros were called to tow cars off
                    private property by 'state actors'. See ECF105 Ex 5,6,7,9 ADMISSION .... STI, HERTZ BROS
                    tow company claim they have a contract with (D) city of Warren that mandates they comply with
                    city of Warren employees requests .... Shows 'as to the elements of these three theories ... nexus


                                                                      4
                    test, state compulsion test, and conspiracy framework are all sufficient bases on which to find
                    private company defendants liable under Sec 1983' Memphis Tenn Local .. v City ofMemphis,
                    361 F3d 898, 905

                              Per exhibits infra are referenced in ECF 98 (Ds ') STI, Hertz Bros appear confused

                    and argue that since police are not involved in the illegal tow scheme, then they are not liable.

                    (D) Scott, Doe -Kijewski, et al., are "state actors" for 42 USC Sec 1983 purposes. 1'1, police or
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                    (D) Warren city workers (D) Scott is a "state actor" so it does matter if the police are involved or

                    not. 2nd ) Ex 19 pg 1-4 receipts from (D) STI say "Reqd By: WARREN POLICE
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                    DEPARTMENT", so if the under oath ADMISSIONS Ex 5-9 police were NOT involved, creates

                    allegation of further "falsified STI receipt", to allege "Warren Police Dept" "Reqd" tow to CYA

                    (Ds') STI, Hertz Bros. towing cars during covid pandemic. Further, under "Abandoned Vehicle"

                    statute (Ds') STI, Hertz Bros tow company are not allowed to tow cars off private property
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                    unless called by the property owner or police. (Ps' -appellants') state that being aware of this

                    (Ds'-appellees') STI tow company, Hertz Bros "falsified the address" cars were towed from

                    correct address-where they were titled to 7568 Hudson Ave, to incorrect address of"7528

                    Hudson Ave". Like tow companies in Robertson v Breakthrough et al, argues state law has
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                    exclusive "subject matter jurisdiction", "Mich Comp L Sec 257.252e(l), .. relies on Gilbert-

                    Rutter v Parkview Towers ..WL 2016 3913713 at 2 (ED MI) .. however Gilbert-Rutter ..

                    concerned a single plaintiff challenging the one-time tow of a vehicle with expired plates". See

                    Ex 23 Gilbert-Rutter v Parkview Towers et al., Case 16-11-10, dismissing pro'se complaint@p

                    3 para 1 "In Plaintiff's amended complaint, all allegations .. legality of towing of her car from

                    private property of Defendant Parkview Towers. Plaintiff admits she was given 48 hours notice

                    by Parkview towers prior to towing of her car. She admits that her car had expired plates, and

                    that the car was considered abandoned. Plaintiff also admits that the lease that she received from
                    Parkview states that a vehicle can be towed for expired plates. Plaintiff also admits in her

                    complaint that she could have retrieved her vehicle from the police but did not pay required fee.

                    Per MCL §257.252a(2)(a), an abandoned vehicle is defined as, inter alia, "[a] vehicle that has

                    remained on private property without consent of owner." (P) lease, Parkview could remove cars

                    parked on their property that had expired registration plates. Parkview had a contract with Goch

                    & Sons Towing .. ". Hence owner of property, Parkview Towers called tow company .. expired
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                    plates, after giving 48 hours notice pursuant to renter Gilbert-Rutter's per written lease, within

                    the direct language Mich Comp L Sec 257.2523(1) Ex 16 MI Abandoned Vehicle Code." The
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                    magistrate opinion was not appealed by plaintiff in Gilbert-Rutter v Parkview Towers et al..

                    Case sub judice, is differentiated because 4 cars were towed, b) towed during covid lockdown

                    5/1/20, c) state actors or STI tow company under Mi Abandoned vehicle code was not allowed

                    on private property to tow cars d) cars had current plates, insured to same address as (PN)
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                    owner's driver's license e) Came on private property without warrant behind a privacy fence f)

                    "falsified the address on the paperwork 4 cars were towed from and submitted falsified

                    paperwork to Warren Police Dept which in tum submitted same LIENS computer, Michigan
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                    Secretary of State (SOS) Ex 32 pages 1-2 & Ex 33 MAZDA registration-same address 7568

                    Hudson Ave. g) "other acts" case 23-cv- 11508 Nelson et al., v Scott et al., where same

                    defendants and tow company towed different cars 7/7/21, and tow company (Ds') worked with

                    (D) Scott to "set up" (PT) .. citizens arrests (P) Thrower Ex 24 Warren 7/16/21 police report.

                    "scheme ... violated federal statutes and constitutional rights -all 'arise under the Constitution,

                    laws, treaties of United States.' 28 USCA Sec 1331. Court has jurisdiction. Carmen Auto Sales

                    III Inc. v City of Detroit, 2018 WL 1326295,@ 3-4", "explaining: 'Congress-not state a state

                    legislature-controls federal courtjurisdiction.. nothing in Sec 257.252e(l) .. limits a federal
                    court's jurisdiction to hear federal claims ... "' Robertson et al v Breakthrough et al., pg. 11.

                    Indeed, per facts complaint, Michigan Vehicle Code Sec 257.252e(l), does not even apply to the

                    facts accepted as true, since only property owner or police can authorize tows off private

                    property, which "state actor" (D) Scott states under oath ADMISSION "police not involved" Ex

                    9 para "l) Who contacted Service Towing Inc.... in re the 4 vehicles towed from 7568 Hudson

                    Ave., Wan-en MI 48091 and the adjacent lot 5/1/2020? Response Brian Kijewski-Area 33
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                    Inspector", working under Supervisor of Property & Maintenance, (D) Scott, per under oath

                    response, Doe-Kijewski is not a police officer. "7) Where you present 5/1/20@ 7568 Hudson
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                    Ave Wan-en Mi and the adjacent lot when the 4 vehicles were towed? .. Response YES ... 9) Were

                    the Warren police present for the towing of the 4 vehicles from 7568 Hudson Ave Warren MI

                    48091 and the adjacent lot. .. Response No.". Hence, "Breakthrough's authority to tow vehicles

                    derives from Michigan Vehicle Code, which allows for towing of an 'abandoned vehicle '-that
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                    is 'a vehicle that has remained on private property without consent of the owner' Mich Code L,

                    Sec 257 .252a(2)(a). A towing agency may take custody of an abandoned vehicle through one of

                    two ways: (i) .. direction of a police agency, see Sec 257.252(a)(4), or (ii) at the request of the
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                    owner of the private property where the abandoned vehicle is located, see Sec 257.252a(I0)."

                    Hence tow company (Ds')=appellees STI, Hertz Bros cannot rely on a state code to violate (Ps)

                    US Constitutional rights that does not even apply per the facts accepted as true.


                    Ex 20 pg 1-2 = 4 cars parked on (Ps') private property. The owner of the property, Saint

                    Anthony the Great Orthodox Monastery, per Ex 21 LARA form Michigan SOS, Ex 13 Deed

                    pages 1-4 includes 5 properties including 8075 Packard Ave Wan-en where (PN) lived before

                    7568 Hudson Ave-per Ex 36 expired driver's license, Ex 14 Adjacent lot. 3 of the cars were

                    parked on the grass of adjacent lot owned by Saint Anthony the Great Orthodox Monastery. 1 of


                                                                       7
                    cars 2012 NISSAN Sentra was parked on concrete as Ex 20 pg 2 clearly shows yet all

                    ADMISSIONS claim cars were ALL parked on grass. Each car towed also-an "overt act". That

                    leaves "(i) the direction of a police agency, see Sec 257.252(a)(4). Per Ex 9 Under Oath

                    Admissions of (D) Robert Scott, para "I) Who contacted Service Towing Inc .... in re the 4

                    vehicles towed from 7568 Hudson Ave., Warren MI 48091 and the adjacent lot 5/1/2020?

                    Response Brian Kijewski-Area 33 Inspector", working under Supervisor of Property &
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                    Maintenance, (D) Scott, per under oath response, Doe-Kijewski is not a police officer. "7)

                    Where you present 5/1/20@ 7568 Hudson Ave Warren Mi and the adjacent lot when the 4
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                    vehicles were towed?.. Response YES ... 9) Were the Warren police present for the towing of the

                    4 vehicles from 7568 Hudson Ave Warren MI 48091 and the adjacent lot ... No.". Police have

                    not been identified or served in this action as all appellees per under oath ADMISSIONS state

                    "police not involved". "For appellants to state a claim for civil conspiracy, 'all that must be
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                    shown is that there is a single plan, .. alleged coconspirator shared in the general conspiratorial

                    objective, and that an overt act was committed in furtherance of the conspiracy that caused injury

                    to the complainant", Memphis, 361 F3d 905. The "conspiracy" was to tow 4 licensed,, insured
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                    cars from (AN-appellant Nelson) home and take (AT-appellant Thrower) personal property

                    during the covid pandemic when "citizens" not involved in fighting covid were not allowed on

                    the street. It is well settled law that private parties can "conspired with state actors. (Ds') STI,

                    AT LLC employees Hertz Bros., Sandra Hertz, Edward Hertz, Randy Sullivan acted "in concert",

                    "conspiracy" with state (Ds'), engage in conduct under "color of State law," .. subject to liability

                    under section 1983 where they "act jointly" or conspire with state government officials. See, e.g.,

                    Brentwood Acad. v. Tenn. Secondary Sch. Ath. Ass 'n, 531 U.S. 288, 296 (2001); Tower v. Glover,

                    467 US. 914, 919 (1984); Dennis v. Sparks, 449 US. 24, 27 (1980); cf United States v. Price,



                                                                       g
                     383 US. 787, 794 (1966) (holding that, for purposes of finding liability under the criminal law

                     analogue of section 1983, 18 U.S.C. § 242, private individuals acting jointly with state officers

                    engage in conduct "under color" of state law). All private appellees ABLE TOWING LLC,

                    SERVICE TOWING INC., owners (D) EDWARD Hertz (deceased), DENNIS HERTZ. BRUCE

                    HERTZ, SANDRA HERTZ and their employee=Randy Sullivan via agency law "act jointly" and

                    I or "conspire with state government officials" i.e. appellee (D) City of Warren Property &
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                    Maintenance Supervisor Scott et al., Brentwood Acad. V Tenn. Secondary Sch. Ath. Ass 'n, supra

                    with City of Warren MI Property & Maintenance division, (d) Robert Scott, Cummins, Gus
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                    Ghanam, Warack, Kijewski, Does, (Ds') all acting in their 'individual capacities" at all times per

                    facts of this complaint and conspired with private towing company STI, AT LLC and Hertz

                    Bros., Sullivan, employees. Appellees' (Ds') STI, AKA AT LLC, Hertz Bro, Edward & Sandra

                    Hertz, claim they were "just fulfilling a contract", with (D) city of Warren, yet the existence of a
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                    "contract", "with state and private actors, so that the action may be attributed to the state', 'to

                    take a particular action so .. really that of the state'" Robertson et al v Breakthrough et al@ 12.

                    See Memphis Tenn Area Loe Am Postal Workers Union AFL-CIO v Memphis, 361 F3d 898, 905,
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                    "nexus test, state compulsion test, and conspiracy framework are all sufficient bases on which to

                    find the private company liable under Sec 1983 .. elements of these three theories: * 'The state

                    compulsion test requires proof that the state significantly encouraged or .. coerced either overtly

                    or covertly, to take a particular action so that the choice is really that of the state.' Moldowan,

                    578 F3d at 399. The "particular action" i.e. illegally tow cars, appellees (Ds') STI, Hertz Bros.,

                    Edward & Sandra Hertz, employee Sullivan is mandated by their "contract", "so that choice is

                    really that of.. state' Moldowan, Id." " .. nexus test requires a sufficient close relationship (i.e.

                    through state regulation or contract) between .. state and .. private actor so ... action may be



                                                                        q
                    attributed to the state."' Robertson et al v Breakthough Towing et al., at 12, i.e., "contract"

                    appellees (Ds') STI, Hertz Bros claim for immunity, in the law shows liability, "contract)

                    between the state and p1ivate actor .. action may be attributed to the state.'" RoberLson et al v

                    Breakthrough Towing et al., Id. * 1983 civil conspiracy occurs where 'private party has

                    conspired with state officials to violate constitutional rights, and (3) an overt act was committed.'

                    Revis v Meldrum, 489 F3d 273, 290 CA6", Robenson et al v Breakthrough Towing et al., supra
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                    @ p12     The fact that the 4 cars were illegally towed is "1983 civil conspiracy occurs ... violate

                    constitutional rights ..and (3) an ove1t act was committed.'"    Overt Act: = Ex 9 (D) "state

                    actor" Wan-en Property Maintenance Supervisor Scott ADMISSION, he was there, telephone
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                    call Ex 5 (D) Bruce Hertz ADMISSION, telephone call, "falsified address 4 cars towed from,

                    cars towed off "private property". Ex 19 appellees (Ds ') STI, Hetz Bros, Edward & Sandrn

                    Heitz, Sullivan-employee falsified tow sheets, falsifying the address from correct address, 7568

                    Hudson Ave Warren, to inco11.'ect address "7528 Hudson Ave Warren MI", that 4 cars were towed
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                    from- falsified data was allegedly given to Wa1Ten Police Department enter into LIENS

                    computer, See Ex 32 pg 1, 33 Michigan (DOS) NOTICE OF ABANDONED VEHICLE, Ex 34

                    Registration all for same address two (2) 2012 MAZDAs #1 "Owner Name and Address:
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                    2012 MAZDAJM1CW2CL0C01363 SW


                    Elizabeth Luise Nelson (see Ex 34 matching Registration for this MAZDA)
                    7568 Hudson Ave
                    Wa1Ten MI 48091
                    DATE VEHICLE ... LOCATION
                    05/01/2020 7528 Hudson Ave Warren"


                    "overt act" MAZDA #2: "Owner Name and Address: 2012 MAZDA -Ex 32 pg 2 Abandoned
                    Vehicle Petition (VIN) JMl CW2BLXC0 125056

                    Elizabeth Luise Nelson
                    7568 Hudson Ave

                                                                       10
                    Warren MI 48091
                    Date Vehicle Location
                    05/01/2020 7528 Hudson Ave Warren ... ", again "falsifying address" submitting same to Warren
                    Police to enter into

                    LIENS computer causes falsified address to appear on PETITION FOR HEARING ON
                    ABANDONDED VEHICLE. 1 of cars towed was registered to 8075 Packard Ave Warren MI
                    48089 that was on a (AN) earlier driver's license Ex 36-expired 12/19 & updated with 7568
                    Hudson Ave Warren MI address, a property (PN) lived at before moving to Hudson Ave and also
                    then owned by Saint Anthony the Great Orthodox Monastery per Ex 14 four page deed of listing
                    5 properties.
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                    (D) STI, Hertz Bros., knowing it would look suspicious taking 2 MAZDAs -& 2 other cars from

                    exact same address it's registered to & not fit definition of MI Abandoned Vehicle statute,
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                    "falsified the address"="overt act" to 7528 Hudson Ave Warren -submitting "overt act" same to

                    Warren Police for LIENS -who in tum notified Michigan DOS with falsified address. Ex 7

                    (D)=appellee Dennis Hertz admitting to towing I car, telephone call from "state actor" to tow

                    cars=overt act state compulsion test, and conspiracy framework are all sufficient bases on which
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                    to find the ptivate company liable under Sec 1983, I.e., private appellees STI, Hertz Bros state

                    they have a "contract", hence their "contract" with appellee (D) city of Warren requires (D)-

                    appellees STI, Hertz Bros, Edward & Sandra Hertz to violate (appellants') US Constitutional

                    rights, enter private property-tow cars in violation of 4,5,14 th Amendments US Constitution, "so
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                    that.. choice is really that of .. state"' Moldowan, Id.   and "contract" claimed by (Ds') STI, Hertz

                    Bros. to make them not liable is in fact "* .. that the nexus test requires a sufficient close

                    relationship (i.e. through state regulation or contract) between the state and the private actor so

                    that the action may be attributed to the state.'" Robertson et al., v Breakthrough Towing et al.,

                    supra. Due Process: The due process clause of the Fourteenth Amendment ensures that no party

                    will be deprived of property without notice and an opportunity to be heard at a meaningful time

                    and in a meaningful manner. Fuentes v. Shevin, 92 S. Ct. 1983, .. Fourteenth Amendment

                    protection of property has been broadly extended to "any significant property interest." Boddie v.

                                                                        11
                    Connecticut, 401 U.S. 371, 379, Tt is undisputed .. Uninterrupted use of one's vehicle is a

                    substantial property interest, and that before "local government may so interrupt its use, ..owner

                    is entitled to due process." Bell v. Burson, 402 U.S. 535, 539. "state actors". Several of the

                    "overt acts" are: 1) coming on the private properly to tow the cars and take the personal property,

                    2) falsifying the address the cars were towed from. 3) Telephone call from City of WaiTen

                    Property & Maintenance Doe Kijewski to STl, Hertz Bros Towing. MI Code L Sec
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                    257.252a(2)(a) statute Wanen Property and Maintenance Supervisor, appellees (D) SCOTT,

                    Doe- Kijewski has "no authority" to tow vehicles off "private propetty" in violation of well
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                    settled "black letter" law 2018 Collins v Virginia, as "properly and maintenance" employees for

                    (D) City of Warren are not police officers. "Sec 257.252a(2)(a). A towing agency may take

                    custody of an abandoned vehicle through one of two ways: (i) at the direction of a police agency,

                    see Sec 257.252(a)(4),..". Hence, appellee (D) STI, Hertz Bros entered into a conspirncy,
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                    meeting of the minds, with "state actors" (D) Scott, Doe Kijewski evidenced by appellee STI

                    admitted "mystery contract" to violate (Ps') US Constitutional rights acting in their "individual

                    capacities".".. that the nexus test requires a sufficient close relationship (i.e. tluough state
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                    regulation or contract) between the state and the private actor so that the action may be attributed

                    to the state."' Robertson eL al v Breakthough Towing el al., at 12", Appellee (D) Scott, per under

                    oath ADMISSIONS Ex 9 swear police "were not involved" although he admits to being present.

                    Perhaps this is why after towing, appellees (Ds') Scott, STI, Hertz Bros Sullivan "overt act",

                    "falsified the address" 4 vehicles were towed from to "coverup" that same were towed off a

                    different address of private property, per Ex 20 pg 1-2, 4 cars pictured BEFORE Towing and

                    further why appellees (Ds') SCOTT, shifted reason to tow from "Abandoned Vehicles" to a

                    non-existent alleged blight ticket as fully articulated in earlier filings.



                                                                       1?.
                      Appellees (Ds') STI, Hertz Brothers cite a "contract" with city of Warren tow cars when

                    called by Warren City employees. (Ds') STI, Hertz Brother's have not produced this contract,

                    and (Ps') aver that it should not be allowed as a defense, said "mystery contract". Further, said

                    contract would be illegal if interpreted to enter private property at the request of (D) city of

                    Wanen Prnperty & Maintenance employees, supervisor appellee (D) Scott to tow licensed,

                    plated, insmed vehicles registered to same address. "Private patties may also be liable under Sec
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                    1983 if they 'willfully paiticipated in joint actions with state agents' by joining a civ:il conspiracy

                    with state officials Memphis Tenn Area Loe., Am Postal Workers Union, AFL CJO v City of
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                    Memphis, 361 F3d 898, 905 CA 6. _"knowingly allowed the seizure ... in reckless disregard of

                    statute requirements' ... violated Plaintiffs clearly established Fourth Amendment rights to be

                    free from umeasonable seizures' Livingston, 151 F.App'x at 476.. for plaintiffs to state a claim

                    for civil conspiracy 'all that must be shown is that there was a single plan", appellees STI, Hertz
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                    Bros, Sandra Hertz, Edwai·d Heitz-private paities aver "mystery contract" allows them to break

                    the law, violate United States Constitutional rights, yet fails to produce same," .. nexus test

                    requires a sufficient close relationship (i.e. through state regulation or contract) between ... state
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                    and .. private actor so .. action may be attributed to the state."' Robertson et al v Breakthough

                    Towing et al., at 12", & at Robertson et al., v Breakthrough Towing LLC et al., @p 6 para 2,

                    "Plaintiffs .. suggest that ..tows were effected without any request vehicle that the vehicle is

                    being removed'. Mich Comp. L. Sec 257.252a(l l)." Owner of prope1ty owner, a circumstance

                    not authorized by Mich. Code L Sec. 257.252a", as again to why (Ds') STI, Hertz Bros., Sullivan

                    would "falsify the address" from the actual towed from property 7568 Hudson Ave to

                    "manufactured for the occasion" address of7528 Hudson Ave Warren Mi-to boot strap Mich

                    Abandoned Vehicle Code. "Before removing the vehicle from private property, the towing



                                                                       13
                    agency shall provide notice by telephone, or otherwise, to a police agency having jurisdiction

                    over the "mystery contract" not produced in discovery cannot be relied upon to break the law,

                    violate the constitution and contract shows "may be subject to liability under section 1983 where

                    they "act jointly" or conspire with state government officials. See, e.g., Brentwood A cad. v. Tenn.

                    Secondary Sch. Ath. Ass 'n, 531 U.S. 288, 296 (2001); Tower v. Glover, 467 US. 914, 9 I 9 (1984);

                    Dennis v. Sparks, 449 US. 24, 27 (1980); cf United States v. Price, 383 US. 787, 794 (1966)
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                    (holding that, for purposes of finding liability under the criminal law analogue of section 1983,

                    18 U .S.C. § 242, private individuals acting jointly with state officers engage in conduct "under
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                    color" of state law). All private defendants ABLE TOWING LLC, SERVICE TOWING INC.,

                    owners (D) EDWARD Hertz (deceased), DENNIS HERTZ. BRUCE HERTZ, SANDRA HERTZ

                    and their JOHN DOE* employees=Randy Sullivan via agency law "act jointly" and/ or

                    "conspire with state government officials" i.e. (D) City of Warren Property & Maintenance
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                    Supervisor Scott et al., Brentwood Acad. V Tenn. Secondary Sch. Ath. Ass 'n, supra with City of

                    Warren MI Property & Maintenance division, (d) Robert Scott, Cummins, Gus Ghanam, Warack,

                    Kijewski, Does, (Ds') all acting in their 'individual capacities" at all times per facts of this
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                    complaint and conspired with private towing company STI, AT LLC and Hertz Bros., Sullivan,

                    employees. "Falsifying the address" that the cars were towed from can be interpreted by a jury of

                    "consciousness of guilt", evidence of a "guilty state of mind", and "cover-up", "overt act", in

                    "tandem", "concert" of crime since the address provided on tow receipts showed a different

                    address cars towed from to support "abandoned vehicle" theory under Michigan "Abandoned

                    Vehicle" code. People v Leyra, 1 NY2d 199, 208 "The assertion of false explanations or alibis

                    as well as the destmction or concealment of evidence comes within the broad category of

                    conduct evidencing a 'consciousness of guilt' and, therefore, admissible, and relevant on the
                    question of a defendant's guilt". "concealing" correct address cars towed from," comes within

                    the broad categmy of conduct evidencing a 'consciousness of guilt' and, therefore, admissible,

                    and relevant on the question of a defendant's guilt". See "other acts" of city of Warren, Ex 29

                    6/24/23 "Warren police officer caught on video punching jail inmate pg 1-5. See Exhibit 24

                    Warren Police Report dated 7/16/21, "other act" (Ds') STI, Hertz Bros., work ing w "state actor"

                    (D) Scott in re "citizens arrest"@ (Ds') STI tow yard, Hertz Brother, SuJlivan defendants
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                             (D) Scott although admits to being present Ex 9 ADMISSIONS para when the cars

                             were towed appears to deny liability even though he is a supervisor and (D) Doe
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                             Kijewski works under him @ Wanen Property & Maintenance


                               One theory that civil rights attorneys have used to establish § 1983 liability is a

                             ratification theoty. Under a ratification theory, the plaintiff argues, that because the
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                             municipality subsequently approved of conduct by its officials that deprived the plaintiff

                             of his constitutional rights, the municipality should be liable under §1983. In City of St.

                             Louis v. Praprotnik,4 a plurality in the United States Supreme Court accepted this theory:

                             when a final policy maker "approve[d] a subordinate's decision and the basis for it, their
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                             See City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (Ps') aver that (D) STI

                            admission of "tow contract" with (D) city of Wa1Ten, "approved of the conduct by its

                            officials that deprived the plaintiff(s) of (their) constitutional rights, ... the municipality

                            should be liable under Sec 1983" Id".




                                                                     15
                           GROUND NUMBER TWO ECF 58 OBJECTION NUMBER TWO


                    THE MAGISTRATE ERRED TO THE PREJUDICE OF THE PLAINTIFFS
                    WHENITFAILEDGRANT SAC(ECFNo.10, ll)ANDGRANTMOTION
                    FOR LEAVE TO FILE SAME, AND GRANT COURT ECF 74 IDENTIFYING
                    DOES TIMELY PER ECF 63 INITIAL SCHEDULING ORDER, ECF 58
                    OBJECTION, AND FAILED TO ALLOW ECF 74 NAMING DOE
                    DEFENDANTS TO PROCEED DENYING APPELLANTS "ACCESS TO THE
                    COURTS", Pt, 14th AMENDMENT US CONSTITUTION
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                    @ Para 2 "On July 22, 2022, Plaintiffs filed-and both signed-a motion for leave to
                    file a second amended complaint (ECF No. 10) and proposed second amended
                    complaint (SAC) (ECF No 11), to 'add more articulate claims' and to identify
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                    James Cummins and Gus Ghanam as two of the John Doe Defendants (ECF No.
                    10, PageID,75; ECF No. 11, PageID,7879). Although the Court had not yet ruled
                    on the motion, which remains pending Farnan v Davis, 371 U.S. 178 (1962),ill was a case
                    in which the Supreme Court of the United States interpreted Fed. R. Civ. P. 15(a)111 to require
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                    that federal courts grant a party leave to amend a pleading absent special circumstances such as
                    bad faith or prejudice to the opposing party. It has been recognized by both other courtsill and
                    secondary sourcesl±l as a leading decision on the interpretation of Rule 15(a). Court erred to
                    prejudice of appellants' by dismissing this (SAC) (ECF No 11 ), as leave was sought by separate
                    motion, ECF 11 citing Farnan v Davis, Id., and striking same.
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                             At pg. 5 of Magistrate Report same states "B. Under Fed. R. Civ. P. 15(a),
                    a party may amend its pleadings at this stage of the proceeding only after obtaining
                    leave of court. The Rule provides that the Court should freely give leave for a
                    party to amend its pleading 'when justice so requires' .... "            While citing the
                    correct rule and law, magistrate failed to rule on ECF No. 10 7/22/22, & ECF 11,
                    7/22/22. 131, the (Ps') have a right to said ruling on pending SAC and in a timely
                    manner. The accepted time is 90 days. Instead, the magistrate did not issue a ruling
                    and summarily dismissed same 1/25/23, 6 months later without stating "findings of
                    fact or conclusions of law" relevant as to why dismissed. Appellants rather than
                    lack of diligence, through their diligence identified DOES listed in the original
                    complaint that caused the United States Constitutional violations supplying proof
                    they were on the private property at issue. Per Ex A annexed to record ticket dated
                    5/1/2020 signed Ghanam proved he was on property when 4 cars were towed.
                    Image dated 5/1/20 of cars in driveway before towing was obtained from City
                    Att0111ey Mary Michaels through another legal matter indicating Doe Defendant
                    City Prosecutor Michaels was forwarded image of cars on driveway@ 7568
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                    Hudson Ave Warren MI 48091 and gave legal decision to tow cars at issue. Court
                    erred by not granting leave to file SAC ECF No. 10, 11. SAC ECF 11, should be
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                    the operative complaint identifying JOHN DOE defendants or ECF 74 "In Cirino
                    v. Ocwen Loan Servicing, LLC, No. 19-55817 (9th Cir. Aug. 7, 2020)
                    (unpublished), the Ninth Circuit notes that a plaintiff does not have to replead a
                    dismissed cause of action in an amended complaint in order to preserve error. The
                    plaintiff may instead continue its case with the remaining claims." Objection to Magistrate's
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                    Report ECF (2nd Claim) Appellees' Service Towing Inc (STI), Hertz Bros., STI employees,
                    Hertz Bros., employee STI Sullivan ... (Ds') Scott, (D) (Does) (the trial court ordered the
                    appellants' to file an amended complaint identifying Does by 6/2/23 which they did but trial
                    court failed to rule on adding ID's Does ton ECF 71, Does were served with SUMMONS per
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                    the record and responded per earlier filings. unlawfully deprived appellant Nelson of her 4
                    vehicles, and appellant Thrower of personal property without Due Process oflaw in violation of
                    the 4, 5, 14th Amendment of the United States Constitution and failed to allow ecf 74 naming doe
                    defendants to proceed denying appellants "access to the courts", pt, 14th amendment US
                    Constitution
                                                        GROUND NUMBER THREE

                     TRIAL COURT ERRED TO THE PREWDICE OF THE PREWDICE OF THE
                    APPELLANTS WHEN IT DID NOT STATE APPELLANTS' STATED A CLAIM UNDER 4,
                    5, J4tli AMENDMENT UNITED STATES CONSTITUTION WHEN DOE WARREN POLICE
                    OFFICER VAN DYKE SUBSTATION DID NOT ALLOW APPELLANTS' TO FILE A
                    POLICE REPORT IN RE FALSIFIED ADDRESS ON THE PAPERWORK WHERE 4 CARS
                    WERE TOWED FROM BY APPELLEES' SERVICE TOWING INC, ABLE TOWING LLC,
                    HERTZ BROTHERS, STI EMPLOYEE RANDY SULLIVAN, EDWARD HERTZ
                    (DECEASED-SUBSTITUTE ESTATE) FROM ACTUALADDRESS 7568 HUDSON AVE
                    WARREN WHERE CARS WERE REGISTERED AND TOWED FROM TO FALISIFED
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                    ADDRESS OF 7528 HUDSON AVE TO FIT MICHIGAN ABANDONED VEHICLE
                    STATUTE
                      Per ECF 6, complaint which must be accepted as true Anderson v. Liberty Lobby, Inc., 477
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                    U.S. 242 (1986) Per 4, 5, 14th Amendments US Constitution in violation of "black letter law",
                    Collins v, Virginirn, IJ8 S. Ct .. i'66J, 2QJL IL. Ed. 2d 9; (2tH8
                    "16) "Part of the conspiracy is for ID'd .. Robe1t Scott, (deceased substitute estate of Scott
                    and/or new Prope1ty & Maintenance Supervisor Doug Campbell) ... Service Towing Inc (STI,
                    Edward Heitz (deceased-substitute estate), Dennis Hertz, Sandra Heitz, was to falsify the address
                    from which the cars are taken to make it appear as if cars were towed in accordance with
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                    Michigan law as abandoned vehicles when said cars were not towed in accordance with
                    Michigan law and not abandoned due to falsified paperwork .. "

                       16) (sic) This falsification of address from co1Tect address of 7568 Hudson Ave Warren Mi
                    48091 to and the adjacent lot to inco1Tect address 7528 Hudson Ave .. See Ex B (annexed to ECF
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                    6) Michigan Dept of State Petition for Hearing on Abandoned vehicle caused .. (DOS) to issue Ex
                    B fraudulent pape1work as to where the vehicles were tolled from See Ex C pg 1-4, Ex D STI,
                    Able Towing LLC receipts showing ... 'falsified address' ... Scott, Does, .. being aware .. law
                    MLC 257 .252 Abandoned Vehicle .. that they cannot enter private prope1ty to tow properly
                    registered vehicles to .. (appellant) Nelson-7568 Hudson Ave .. registration Ex D: 2009 Silverado
                    ... Ex E Ml (SOS) receipts for tags, plates .. "

                    18) ... about 7/30/21 (appellant) Thrower attempted to make a police rep01t with Wmi-en Police
                    Dept .. concerning the 'falsification' of address on pape1work where the 4 vehicles were towed
                    from .... (D) City ofWatTen, Police Dept refused to file the police report ... (appellants) had a
                    US Constitutional right to make a police report since physical paperwork shown to the Doe
                    WatTen police officer exposed the address was falsified ... 'failure to report a crime'.
                                                                             /'fl,
                       Sec CLAIM IV pg 22 is the claim for Doe Warren police officer failure to file a police report
                    in re "falsified address" on the paperwork from appellees' STI, Hertz Bros., Randy Sullivan,
                    Edward Hertz-deceased-substitute estate, Sandra Hertz, "violated (appellants') United States
                    Constitutional rights to Due Process &/or Equal Protection of the laws ..

                       The trial court erred by not addressing the falsification of the address in re "ove1t act" of
                    conspiracy, with (D) Scott-(substitute estate, Doug Campbell), and "consciousness of guilt'' of
                    appellees' to substantiate facts in complaint and stating that appellants' stated a claim per this
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                    falsification

                            "knowing use of falsified evidence" The Fourteenth Amendment cannot tolerate ...
                    secured by the knowing use of false evidence. Mooney v. Holohan, 294 U.S. 103, followed. Pp.
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                    2-7. Miller v Pate, 386 US I, 6-7 (1967)

                        24)Appellants aver that it was appellee Reichling-Wmrnn police officer that did not allow
                            appellants to file police report. Dwyer being Wmrnn Police Commissioner had a duty per
                            employment contract Q-for Commissioner Nichols-it can be assumed that DWYER has a
                            similar contract spelling out his supe1visor duties which state to set policy for his
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                            department and police employees.
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                    GROUND FOUR
                    TRIAL COURT ERRED TO PREJUDICE OF APPELLANTS WHEN IT DID NOT FIND
                    THAT APPELLANTS STATED A 'STATE CREATED DANGER"="SCD" CLAIM BY
                    TOWING 4 CARS AND TAKING PERSONAL PROPERTY DURING COVID LOCKDOWN
                    PER THAT FACTS ECF 6 SAME AS IF REWRITTN HEREIN THE DEFENDANTS
                    VIOLATED THE PLAINTIFFS' CONSTITUTIONAL RIGHTS UNDER THE UNITED
                    STATES CONSTITUTION, 5t\ 14th AMENDMENT, Due Process Cl, SEC 1983, 1985, 1988
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                    OF USC TILE 42

                    "SECTION 1983 IMPOSES CIVIL LIABILITY ON A PERSON ACTING UNDER COLOR
                    OF STATE LAW WHO DEPRIVES ANOTHER OF THE 'RIGHTS, PRIVILEGES, OR
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                    IMMUNITIES SECURED BY THE CONSTITUTION AND LAWS."' KALLSTROM V. CITY
                    OF COLUMBUS, 136 F.3D 1055, 1060 (6CA) (QUOTING 42 U.S.C. § 1983). "[W]HlLE THE
                    STATE GENERALLY DOES NOT SHOULDER AN AFFIRMATIVE DUTY TO PROTECT
                    ITS CITIZENS FROM PRIVATE ACTS OF VIOLENCE, IT MAY NOT CAUSE OR
                    GREATLY INCREASE THE RISK OF HARM TO ITS CITIZENS WITHOUT DUE
                    PROCESS OF LAW THROUGH ITS OWN AFFIRMATIVE ACTS." ID. AT 1066.
                    APPELLANTS NELSON, THROWER CLAIMS APPELLEES WARREN PROPERTY AND
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                    MAINTENANCE DIVISION EMPLOYEES, ROBERT SCOTT SUPERVISOR, GUS
                    GHANAM PUBLIC SERVICE DIRECTOR, JAMES CUMMINS BUILDING DEPARTMENT
                    SUPERVISOR, GAUSS #22, CITY OF WARREN DOE ZONING EMPLOYEES, DOE CITY
                    OF WARREN MI POLICE OFFICERS ACTIONS WERE LIABLE FOR PLAINTIFFS
                    INCREASED "STATE CREATED DANGER" THEORY OF LIABILITY. "LIABILITY
                    UNDER THE STATE-CREATED-DANGER THEORY IS PREDICATED UPON
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                    AFFIRMATIVE ACTS BY THE STATE WHICH EITHER CREATE OR INCREASE THE
                    RISK THAT AN INDIVIDUAL WILL BE EXPOSED TO PRIVATE ACTS OF (DANGER)."
                    ID. TO BRING A 'STATE CREATED DANGER' CLAIM, THE INDIVIDUAL MUST
                    SHOW: '(1) AN AFFIRMATIVE ACT BY THE STATE WHICH EITHER CREATED OR
                    INCREASED THE RISK THAT [APPELLANTS] WOULD BE EXPOSED TO AN ACT; .. (2)
                    A SPECIAL DANGER TO [APPELLANTS] WHEREIN THE STATE'S ACTIONS PLACED
                    THE [APPELLANTS] SPECIFICALLY AT RISK, AS DISTINGUISHED FROM A RISK
                    THAT AFFECTS THE PUBLIC AT LARGE; AND (3) THE STATE KNEW OR SHOULD
                    HAVE KNOWN THAT ITS ACTIONS SPECIFICALLY ENDANGERED (appellants)' JONES
                    V. REYNOLDS, 438 F.3D 685, 690 (6TH CIR. 2006) CARTWRIGHT V. CITY OF MARINE
                    CITY, 336 F.3D 487, 493 (6TH CIR. 2003)).


                     Per ECF6 complaint which must be accepted as true Anderson v. Liberty Lobby, Inc., 477
                    U.S. 242 (1986) trial court erred by not finding that appellants stated a "SCD". Per 4, 5, 14th
                    Amendments: in violation of"black letter law", Collins v. Virginia, 138 S. Ct. 1663, 201 L. Ed.
                    2d 9· (20,18} appellees need to enter property ]'eased by appelitees rentei:s.
                                                                                         0




                         Per Poe v. Haydon, 853 F.2D 418,423 (6TH CIR. 1988) citing Harlow, 457 U.S. AT 818).
                    IN Kallstrom, "an individual's 'interest in preserving her life is one of constitutional
                    dimension.'" Kallstrom, 136 F.3D AT 1063. Per facts, Ex Y, Z Emergency Orders, public
                    record, Covid 19 was raging. There was no cure or vaccine. Appellees SCOTT, CUMMINS,
                    Michaels, Fouts, GHANAM, .. et al., knew or should have known towing 4 vehicles would cause
                    appellees to come out of "self-isolation" have to violate (D) Mayor Fouts, Gov "emergency
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                    orders" in effect to retrieve appellant Nelson=AN vehicles or lose same. This exposed appellants
                    to "state created danger", that "1) affirmative act by then state (or employees) which either
                    created or increased the risk that the (P) would be exposed", 2) A special danger to (P) wherein
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                    the state's action placed appellants specifically at risk", Cartwright v City ofMarine City, 336
                    F3d 487, 493 496), i.e. appellees were aware of covid, 5/1/20, appellee Fouts entering
                    "emergency orders", Ex Y, Gov Ex Z entering emergency orders, ie "self-isolation" "harboring
                    in place", and towing (AN) 4 vehicles would cause appellants at risk individuals, out of self-
                    isolation to retrieve her vehicles or lose same. This makes (D) MICHAELS, SCOTT,
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                    CUMMINS, GAUSS, GHANAM, FOUTS, knew or should have known had they been properly
                    trained acting in tandem, conspiracy, concert with appellee STI, AT LLC, Hertz Bros., Edward
                    Hertz, Sandra Hertz, employee Sullivan.

                       Appellants avers per facts same rewritten herein to bring a 'state created danger' claim, the
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                    individual must show: '(1) an affirmative act by the state which either created or increased risk
                    [appellants] would be exposed to an act .. ; (2) a special danger to [appellants] .. state's actions
                    placed [appellants] specifically at risk, as distinguished from a risk ... affects public at large;
                    and (3 ).. state knew or should have known that its actions specifically endangered [appellants].'
                    Jones v. Reynolds, 438 f.3d 685, 690 (6th) Cartwright v. city ofMarine city, 336 f.3d 487, 493
                    (6th).
                      Per"!) affirmative act by which state (appellees') created... risk ", i.e., towing 4 cars 5/1/20
                    without court order or notice, 2) special danger .. actions placed (appellants) .. at risk, 3) state
                    knew or should have known that its actions specifically endangered the (P)" Jones v Reynolds,
                    Id., I.e., by towing 4 vehicles, it can be ascertained (AN) owner would come out of self-isolation
                    to retrieve her 4 vehicles, "created risk", "placed (P) at risk" Jones v Reynolds, Id. Appellees

                                                                        2i
                    (Os) argue "everyone was at risk-exposed to COVID", but state actors did NOT tow everyone's
                    4 vehicles without notice, without court order using falsified paperwork as to address to give an
                    "air oflegitimacy". Eve1yone, i.e., the public did not have to come out of"self-isolation", to
                    retrieve (their) 4 illegally towed vehicles. Hence, actions of (appellees) per FACTS-ECF6 same
                    as ifrewritten herein 5/1/20 "created risk .. .increased risk" to appellants and state appellees
                    "knew or should have known that its actions (towing 4 licensed, insured, titled, plated vehicles
                    off private property, falsifying paperwork in the process-during COVID emergency) endangered
                    appellants Jones v Reynolds, Id., (P) being "at risk" category for COVID. This violated the
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                    United States Constitutional rights of appellants, 5th, 14th Amendment Due Process Clause and
                    Equal Protection Clause of same. Appellants did not need to die of COVID to state a claim.
                    Indeed, the falsification of the address-a crime as stated supra shows a "consciousness of guilt",
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                    malicious animus, malicious intent to coverup, actions of appellees, i.e., towing 4 vehicles
                    5/1/20 without probable cause, search warrant, seizing same, searching property at issue leased
                    by appellants during COVID 19 emergency and "overt act" of conspiracy of private appellees
                    and state appellees.
                      endangered appellants violates 42 USC Sec 1983, 1985, 1988 IN VIOLATION OF
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                    GOVERNORS EMERGENCY ORDERS, (D) FOUTS EMERGENCY ORDERS, Ex, Y
                    respectively. "A plaintiff can only invoke federal court jurisdiction.. suffered
                    "some threatened or actual injury resulting from the putatively illegal action." Linda R.S. v.
                    Richard D., 410 U.S. 614,617, 93 S. Ct. 1146, (D)s' SERVICE TOWING INC., ABLE
                    TOWING LLC, HERTZ BROS, (D)Sullivan towing employees, (d) doe city of warren
Case: 24-1219




                    employees, Scott, Cummins, Gus Ghanam, Gauss #22, (D) Michaels, (D) Fouts, warren zoning
                    division does ignored state, appellee city warren, MI state and federal emergency due to COVID
                    & used MICHIGAN EMERGENCY ORDERS to tow vehicles from private property for
                    monetary gain without court order with "threatened ..injury resulting from putatively illegal
                    action" Linda RS Id., this violated appellants Due Process, equal protection rights under 5th, 14th
                    amendment united states constitution.
                        24) Appellants cancer survivors were self-isolating in OHIO a "low covid 19" state at the
                            time of the 5/1/20 towing per Michigan doctor orders. See Ex K Affidavit para 22
                        25) (AN) Affidavit para 3 (P) MICHIGAN Dr told (AN) =NELSON "do not come to MI", a
                            high covid state saying was "going crazy in Michigan because of covid".
                      26)CITY OF WARREN MICHIGAN WEBSITE STATES IN RE COVID 19 "THE
                         HEALTH AND SAFETY OF OUR RESIDENTS IS OUR PRIORITY. IT IS OF
                         UTMOST IMPORTANCE TO US THAT WE KEEP OUR RESIDENTS INFORMED
                         AND CONTINUE TO CONDUCT CITY BUSINESS DURING THESE
                         UNPRECEDENTED TIMES.
                    PLEASE VISIT THE CITY OF WARREN COVID-19 PAGE FOR INFORMATION AND
                    RESOURCES." EMPHASIS THEIRS APPROVED BY (D) appellee MAYOR FOUTS"

                      27) Appellants drove OH to MI to retrieve cars incurring expenses Ex FF Ohio Turnpike
                         Rte. 80- AKA "corona virus highway" NYC-Chicago- Toll $6.50 travelled 5/3/20 to
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                         retrieve vehicles incurring expenses, towing charges, exposing appellants to "SCD". AN
                         could not retrieve 4 vehicles by herself without assistance of AT
                      28) because of the actions of appellees, appellants' lives were endangered-- to retrieve
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                         (AN) 4 vehicles, (AT) entered service towing inc., 6 ft x 8 ft customer area office and
                         interact with (appellees) service towing inc. employees, Hertz Bros., Sandra Hertz,
                         Edward Hertz and enter vehicles to drive back to 7568 Hudson Ave warren mi 48091,
                         exposing appellants to covid as stated in governor emergency orders-i.e., if (AT) had
                         caught covid in 7x8 ft service towing reception, (AN) would have been exposed.
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                      29) (D) Service Towing Inc, (D) ABLE TOWING LLC, (D) HERTZ BROS. had a 6 in x 4
                         inch sign on their door window "only 1 person in the office at a time" but STI, ABLE
                         TOWING LLC, (D) HERTZ Bros or appellee Sullivan employee were not enforcing the
                         sign and allowing anyone to come into the 7 ft x 8 ft waiting room. When landlord
                         Thrower was retrieving vehicles, a black lady also entered facility=2 people in 7 ft x 8 ft
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                         area exposing (AT) increased risk to exposure to covid 19, endangering .. life of high-risk
                         with "state created risk" due to illegal car towing conspiracy., exposing (AN) to covid
                         i.e., had (AT) contracted covid in 6'x 8' tow office, would have exposed (AN) to covid.
                      30) Appellees' (D) STI, ABLE TOWING LLC, owners Hertz Brothers, Edward Hertz,
                         Sandra Hertz, knew or should have known that their actions were in violation of 4, 5,
                         14th Amendment US Constitution., ie., taking cars off private property even if directed
                         by WARREN Maintenance DIV employees, (D) -appellee SCOTT property maintenance
                         division supervisor, JAMES CUMMINS, GUS GHANAM, GAUSS #22, JOHN DOES,
                         DOE warren zoning division employees & knew or should have known that their actions
                       were in violation of United States Constitution i.e., entering private property to tow
                       vehicles without court order during covid pandemic.
                    31) MICHIGAN DEPARTMENT OF STATE (DOS) issued "abandoned vehicle" Ex W pg
                       1-3 MAZDA 5 's, Ex B Doc !-for Silverado, NISSAN letter based on false address for
                       each of the 4 vehicles-showing (P) as her correct address as owner 7568 Hudson Ave and
                       the falsified address the 4 cars were towed from as 7528 Hudson Ave, falsified by DOE
                       CITY OF WARREN Maintenance DIVISION employees, (D) JAMES CUMMINS, (D)
                       GUS GHANAM, ROBERT SCOTT, (D) GAUSS #22, doe city of warren zoning
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                       division, doe employee city of warren legal division employees, MICHAELS city
                       attorney that said vehicles fit the definition of MI ABANDONED VEHICLE when same
                       did not fit definition Ex B (ECF 1) pg. 1-2, Ex W annexed hereto letter containing
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                       "falsified address".
                    32) other Michigan courts did close down because of covid, (Oakland County), a complaint
                       was filed with MIOSHA that (d) Fouts was doing enough to protect citizens and workers
                       from covid 19 by Warren asst attorney EMPLOYEE-using non-alcohol-based hand
                       cleaner etc. (D) Fouts talked the talk, in re COVID, but did not recognize the seriousness
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                       of same in re his city employees running wild towing cars showing liability of appellee
                       Fouts, city of Warren.
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                                                          GROUND NUMBER 5
                     Trial court erred by not finding appellants stated a claim per facts ECF6 same as if rewritten
                    herein, which "must be accepted as true" complaint which must be accepted as true Anderson v.
                    Liberty Lobby, Inc., 477 U.S. 242 (1986) deprived appellants of United States Constitutional
                    rights of Due Process of law, 4, 5, 14th Amendments: in violation of"black letter law", Collins
                    v. Virgil1ia, 138 S. Ct. 1663, 201 t. Ed. 2d 9,(2018)
                    I. 5th Amendment Due Process, 4th Amendment illegal search and seizure: The due process
                    clause of the Fourteenth Amendment ensures that no party will be deprived of property without
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                    notice and an opportunity to be heard at a meaningful time and in a meaningful manner. Fuentes
                    v. Shevin, 407 U.S. 67, 80, 92 S. Ct. 1983, 1994, 32 L. Ed. 2d 556 (1971); Armstrongv.

                    Manzo, 380 U.S. 545,552, 85 S. Ct. 1187, 1191, 14 L. Ed. 2d 62 (1965). The Fourteenth
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                    Amendment protection of property has been broadly extended to "any significant propetty
                    interest." Boddie v. Connecticut, 401 U.S. 371,379, 91 S. Ct. 780, 786, 28 L. Ed. 2d 113 (1971).
                    It is undisputed that the uninterrupted use of one's vehicle is a substantial property interest, and
                    that before the "local government may so interrupt its use, the owner is entitled to due
                    process." Grajfv. Nicholl, 370 F. Supp. 974,981 (N.D.Ill.1974); see also Bell v. Burson, 402
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                    U.S. 535, 539, 91 S. Ct. 1586, 1589, 29 L. Ed. 2d 90 (1971); Per facts supra same as ifrewritten
                    herein the (D)s' violated appellants II. US Constitution Fourth Amendment rights applicable to
                    (P) 's via the 14th Amendment US Constitution


                      Appellants allege taking of 4 vehicles off private property of appellant Nelson & personal
Case: 24-1219




                    property of (AT)= appellant Thrower 5/1/20 without notice, when courts were open & Covid as
                    raging and appellant city of Warren was on covid lockdown, without court order is an improper
                    seizure prohibited by Fourth Amendment. The goals of Fourth Amendment include the
                    protection of privacy against arbitrary invasion ... ". United States v. Ortiz, 422 U.S. 891, 95 S.
                    Ct. 2585, 45 L. Ed. 2d 623 (1975); Chime[ v. California, 395 U.S. 752, 89 S. Ct. 2034, 23 L. Ed.
                    2d 685 (1969); Berger v. State ofNew York, 388 U.S. 41, 87 S. Ct. 1873, 18 L. Ed. 2d 1040
                    (1967). This much was made clear in Jacobsen, supra, where we explained that the first clause
                    of the Fourth Amendment

                       "Protects two types of expectations, one involving 'searches,' the other 'seizures.' A 'search'
                       occurs when an expectation of privacy that society is prepared to consider reasonable is
                      infringed. A 'seizure' of property occurs where there is some meaningful interference with
                      an individual's possessory interests in that property." 466 U.S., at 113.

                    See also id., at 120; Horton v. California, 496 U.S. 128, 133 (1990); Arizona v. Hicks, 480 U.S.
                    321,328 (1987); Marylandv. Macon, 472 U.S. 463,469 (1985); Texas v.Brown, 460 U.S. 730,
                    747-748 (1983) (Stevens, J., concurring in judgment); United States v. Salvucci, 448 U.S. 83, 91,
                    n. 6 (1980). THE 4°1 amendment of the united states constitution is applicable to appellees via
                    the 14th AMENDMENTS DUE PROCESS CLAUSE. Appellants state both "SEARCH" and
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                    "SEIZURE" rights were violated. When (Ds) entered (P) leased property, same was a "search",
                    when (Ds) took plaintiffs 4 cars without warrant or "probable cause"-same was a "seizure"
                    5/1/20, since there was no "ticket" issued, the Warren Court process as to order, search warrant
                    or notice was activated
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                       64. Per facts supra same as ifrewritten herein ISSUE AND ORDER THAT the (D)'s
                           violated appellants United States Constitutional rights to due process and/or equal
                           protections of the laws 4,5, 14TH amendment
Document: 13
Case: 24-1219
                     Wherefore, appellants pray will Court reverse and remand on the authority of Collins

                    ,~ Vii:ginia, 1138,S. Ct,. 1663., 2GM1IL IBdl 2'cll~J(l20l118' ancilt@ :flincilatDJDellants state·a lDue

                    Process claim for not be ing allowed to file a police report~and state a "SCD" per the

                    f.aels.
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                                                                   ~                              Respec       y submitted,

                                                               ~ ~ Eliza eth Nelson pro'se
Filed: 07/08/2024




                                                       CERTIFICATE OF SERVICE


                    A copy of this brief has been served on the below appellees 7/3/24


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Case: 24-1219




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